Case: 1:04-cv-06756 Document #: 755 Filed: 05/01/18 Page 1 of 8 PageID #:34321

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   1                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
   2                             EASTERN DIVISION

   3
       U.S. FUTURES EXCHANGE, L.L.C.            )
   4   and U.S. EXCHANGE HOLDINGS,              )
       INC.,                                    )
   5                                            )
                             Plaintiffs,        )
   6                                            )   Case No. 04 C 6756
       -vs-                                     )
   7                                            )   Chicago, Illinois
       BOARD OF TRADE OF THE CITY OF            )   April 27, 2018
   8   CHICAGO, INC. and CHICAGO                )   9:07 a.m.
       MERCANTILE EXCHANGE, INC.,               )
   9                                            )
                             Defendants.        )
  10                                            )

  11                         TRANSCRIPT OF PROCEEDINGS
                      BEFORE THE HONORABLE THOMAS M. DURKIN
  12
       APPEARANCES:
  13
       For the Plaintiffs:         MR. KENNETH M. KLIEBARD
  14                               MR. SCOTT T. SCHUTTE
                                   Morgan, Lewis & Bockius LLP
  15                               77 W. Wacker Drive
                                   5th Floor
  16                               Chicago, IL 60601-5094

  17                               MR. KENT M. ROGER
                                   MR. SUJAL J. SHAH
  18                               Morgan, Lewis & Bockius LLP
                                   One Market, Spear Street Tower
  19                               San Francisco, CA 94105

  20                               MR. ZACHARY M. JOHNS
                                   Morgan, Lewis & Bockius LLP
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                                   Philadelphia, PA 19103
  22
       Court Reporter:             KELLY M. FITZGERALD, CSR, RMR, CRR
  23                               Official Court Reporter
                                   United States District Court
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Case: 1:04-cv-06756 Document #: 755 Filed: 05/01/18 Page 2 of 8 PageID #:34322

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   1   APPEARANCES:      (Continued)

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       For the Defendants:         MR. ALBERT L. HOGAN, III
   3                               MR. WILLIAM E. RIDGWAY
                                   Skadden, Arps, Slate, Meagher & Flom
   4                               155 N. Wacker Drive
                                   Suite 2700
   5                               Chicago, IL 60606-1720

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Case: 1:04-cv-06756 Document #: 755 Filed: 05/01/18 Page 3 of 8 PageID #:34323

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   1            (Proceedings heard in open court:)

   2               THE CLERK:     04 C 6756, U.S. Futures v. Board of

   3   Trade, and I need to get counsel on the line for that one.

   4               MR. SCHUTTE:     Good morning, Your Honor.         Scott

   5   Schutte --

   6               THE COURT:     Why don't we wait until we get someone on

   7   the line.     We don't have to do it twice then.

   8      (Clerk placing phone call.)

   9               THE CLERK:     Good morning, everyone.        This is Sandy

  10   with Judge Durkin, and this is case 04 C 6756, U.S. Futures v.

  11   Board of Trade.

  12               THE COURT:     All right.     Let's have everyone identify

  13   themselves for the record, starting first with the people on

  14   the phone.

  15               MR. SHAH:     Hello.    This is Sujal Shah and Kent Roger

  16   from Morgan Lewis representing plaintiff.

  17               THE COURT:     Good morning.

  18               MR. JOHNS:     Good morning, Your Honor.         This is

  19   Zachary Johns from Morgan Lewis representing the plaintiff.

  20               THE COURT:     Okay.

  21               And in court?

  22               MR. SCHUTTE:     Good morning, Your Honor.         Scott

  23   Schutte on behalf of plaintiffs.

  24               MR. KLIEBARD:      Good morning, Your Honor.         Ken

  25   Kliebard also on behalf of plaintiffs.
Case: 1:04-cv-06756 Document #: 755 Filed: 05/01/18 Page 4 of 8 PageID #:34324

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   1               MR. HOGAN:     Good morning, Judge.        Al Hogan for the

   2   defendants.

   3               MR. RIDGWAY:     William Ridgway for the defendants.

   4               THE COURT:     All right.     I had asked you to come in

   5   today.     I have reviewed the voluminous summary judgment

   6   briefs, the last of which was received April 13th, about two

   7   weeks ago.      And I told you I would give you a preliminary view

   8   as to whether this three-week jury trial is going to proceed

   9   as scheduled on June 4th.

  10               I believe the defendant has raised arguments that

  11   have significant merit, at least as to the antitrust claims.

  12   Those claims are dismissed.          The plaintiffs' motion for

  13   summary judgment is moot.         And the remaining state court

  14   claim, if it survives, which is questionable, will result in a

  15   much shorter and different trial than the one currently set.

  16               This is a preliminary ruling meant to prevent the

  17   parties from spending the next five weeks preparing for a

  18   trial that will not occur if the written decision is

  19   consistent with my current thinking.            It's simply not fair to

  20   the parties, the witnesses, and the attorneys to keep the

  21   trial date in light of how I believe I'm going to rule.

  22               So, accordingly, the trial date is vacated, as is the

  23   final pretrial conference, as are all of the filing dates for

  24   Daubert motions, motions in limine, the final pretrial order,

  25   and any other deadlines that have been set.
Case: 1:04-cv-06756 Document #: 755 Filed: 05/01/18 Page 5 of 8 PageID #:34325

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   1               I put in a message to Judge Valdez but have not been

   2   able to reach her.        I know you're submitting a number of

   3   documents to her for her to review in camera.               I don't want

   4   Judge Valdez to have to do unnecessary work.              I'll leave it to

   5   her whether she wants -- I haven't dismissed the case.

   6   There's a written ruling that's going to have to come out.

   7   I've been on trial, and I'm not in a position to make a

   8   written ruling today.        And you need to see my reasoning.            I

   9   need to confirm in a written ruling what my preliminary view

  10   is right now.      But I've put it in a call to Judge Valdez.

  11   When I reach her, I'll let her make a decision of whether or

  12   not she thinks she ought to proceed with that discovery.                  My

  13   opinion is it's going to be unnecessary, at least -- if things

  14   change in my thinking, it's something she can pick up where

  15   she left off.      But I don't want her to do -- she's got plenty

  16   of other cases, and I don't want her to do work that's

  17   unnecessary.      So I'll leave that to her, but I've got a call

  18   in to her.      And if you have contact with her before I reach

  19   her, you can tell her what I've just said today.

  20               But that is -- as promised, I wanted to give you this

  21   information because I think it's unfair to -- once I reach a

  22   conclusion at least where I'm at right now to make you spend

  23   the next five weeks, which I know, having been in your shoes,

  24   how you would be spending it.          And that's unfair.

  25               So all is vacated.       You'll get a written ruling.             If
Case: 1:04-cv-06756 Document #: 755 Filed: 05/01/18 Page 6 of 8 PageID #:34326

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   1   there is -- if there is a state claim that survives, we'll

   2   have you come in, and we'll have you talk about how that is

   3   going to proceed.       If the case is dismissed in full, that will

   4   be the result of the order.          And if my decision -- although

   5   it's unlikely, but if my decision is that the antitrust claims

   6   remain, then we'll have to set a new trial date, but I'm not

   7   going to leave you hanging.

   8               So that is the preliminary ruling, and the next thing

   9   you'll get from me is a written order.

  10               Any questions?

  11               MR. SCHUTTE:     Well, yes, Your Honor.

  12               THE COURT:     Sure.

  13               MR. SCHUTTE:     One question:      When we had our

  14   in-chambers conference, the off-the-record, pursuant to your

  15   standing order, you suggested that you might want to hear oral

  16   argument.     Is that no longer something you want to hear?

  17               THE COURT:     No.    The briefing was very good on both

  18   sides.     This is not a comment on the excellence of the

  19   briefing on both sides.          It's my reading of the cases that

  20   both sides have put in front of me.            I don't think oral

  21   argument is going to be necessary.            So if, in preparing the

  22   written order, I feel it will be necessary, I'll let you know.

  23   I typically give oral arguments whenever someone asks for it,

  24   but at this point, I'm too deep into this to believe that it's

  25   going to be helpful.        And if I change mind on that, I'll let
Case: 1:04-cv-06756 Document #: 755 Filed: 05/01/18 Page 7 of 8 PageID #:34327

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   1   you know, and we'll set it up for a convenient time.                I won't

   2   call you on a Thursday and say come on in the next day.                   I'll

   3   give you plenty of notice so that whoever is going to do the

   4   arguing is able to prepare for it properly, but I don't need

   5   it right now.

   6               And I think that's all I have to say, unless there's

   7   some questions.

   8               MR. HOGAN:     Judge, from me, no commentary on the

   9   ruling.

  10               I think I speak for everybody, we do appreciate you

  11   approaching the procedure here the way you've done.                It means

  12   a lot to us.

  13               THE COURT:     All right.     Well, I think it's made sense

  14   in a case of this magnitude, magnitude in the sense of the

  15   effort that would have to go into your preparation of Daubert

  16   motions, your preparation of experts, the many motions in

  17   limine that inevitably would have to be filed, the -- and the

  18   number of witnesses I know you would all have to call in this

  19   case to present your positions.           So that's where we stand

  20   right now.      You'll get something in writing.

  21               And any other questions?         Anybody on the phone have

  22   any questions?

  23               MR. SCHUTTE:     Your Honor, I would just say that we're

  24   obviously disappointed in the ruling.             But we'll echo what

  25   Mr. Hogan has said, is that this is much preferable to
Case: 1:04-cv-06756 Document #: 755 Filed: 05/01/18 Page 8 of 8 PageID #:34328

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   1   spending the next four weeks waiting for a written ruling

   2   while preparing for trial.          So we do very much appreciate

   3   that.    And I will say, as we've had commentary within the

   4   firm, I wish more judges would take this approach.

   5               THE COURT:     Well, it made sense in this case

   6   certainly.      So -- and usually summary judgment is briefed so

   7   far in advance of trial that nobody is really preparing for

   8   trial until you get a ruling.          Here I just know the type A

   9   personalities on both sides, you've been preparing for trial

  10   already, but it's going to get really intense.               It would have

  11   as of 9:30 if I had said something different.

  12               Okay.    Thank you all.

  13               MR. HOGAN:     Thank you, Judge.

  14               MR. SCHUTTE:     Thank you, Your Honor.

  15      (Which were all the proceedings heard.)

  16

  17                                    CERTIFICATE

  18      I certify that the foregoing is a correct transcript from

  19   the record of proceedings in the above-entitled matter.

  20   /s/Kelly M. Fitzgerald                         April 27, 2018

  21
       Kelly M. Fitzgerald                            Date
  22   Official Court Reporter

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